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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                    HARTFORD DIVISION

____________________________________
IN RE:                               )                        CASE No.                  21-20687 (JJT)
                                     )
THE NORWICH ROMAN CATHOLIC           )                        CHAPTER                   11
DIOCESAN CORPORATION,                )
               1
       Debtor.                       )                        RE: ECF NO.               330, 344, 349, 350,
____________________________________)                                                   354

              ORDER EXTENDING EXCLUSIVE PERIODS FOR THE
      FILING AND SOLICITATION OF ACCEPTANCE OF A CHAPTER 11 PLAN

        Upon the motion (ECF No. 330, the “Motion”) of the Debtor for entry of an order,

pursuant to 11 U.S.C. § 1121(d), extending the Debtor’s exclusive periods in which to file a

Chapter 11 plan (the “Exclusive Filing Period”) and to solicit acceptances thereof (the

“Exclusive Solicitation Period” and together with the Exclusive Filing Period, the “Exclusive

Periods”); and the Court having reviewed the Motion; and the Court having jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334(b); and the Court having found that this matter is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this

proceeding and the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

it appearing that proper and adequate notice of the Motion has been given, under the

circumstances, and that no other or further notice is necessary; and upon the record herein; and

after due deliberation thereon; and good and sufficient cause appearing therefore, it is hereby

        ORDERED, ADJUDGED, AND DECREED THAT:

    1. The Motion is GRANTED as set forth herein.



1
 The Debtor in this chapter 11 case is The Norwich Roman Catholic Diocesan Corporation, also known as The
Roman Catholic Diocese of Norwich. The last four digits of the Debtor’s federal tax identification number are 7373,
and its mailing address is 201 Broadway, Norwich, CT 06360.
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    2. Pursuant to 11 U.S.C. § 1121(d), the Exclusive Filing Period is extended from November

12, 2021, through and including 11:59 P.M. (EST) on February 4, 2022.

    3. Pursuant to 11 U.S.C. § 1121(d), the Exclusive Solicitation Period is extended from

January 11, 2022, through and including 11:59 P.M. (EST) on April 5, 2022.

    4. The extension of the Exclusive Periods granted herein is without prejudice to further

requests made to extend or reduce such periods pursuant to Section 1121(d).

    5. In seeking any further extension or reduction of the Exclusive Periods, the movant shall

file and serve an appropriate motion and a memorandum of any supporting supplemental

authorities.

    6. All time periods set forth in this Order shall be calculated in accordance with Bankruptcy

Rule 9006(a).

    7. Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062, 9014 or

otherwise, the terms and conditions of this Order shall be immediately effective and enforceable

upon its entry.

    8. All objections filed in opposition to the Motion are OVERRULED, without prejudice to

renewal of the asserted cause.

    9. The Court will forthwith issue a Summary Opinion in support of this Order.

    10. The Court shall retain jurisdiction to hear and determine all matters arising from the

implementation and/or interpretation of this Order.

    11. A Continued Hearing will be held on January 31, 2022 at 11:00 A.M. via the Zoomgov

platform. Please email Calendarconnect htd@ctb.uscourts.gov to obtain log in information.

    IT IS SO ORDERED at Hartford, Connecticut this 10th day of November 2021.




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